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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, JARRETT
 LOFTON, REV. CLEE EARNEST LOWE,
 DR. ALICE WASHINGTON, STEVEN
 HARRIS, ALEXIS CALHOUN, BLACK
 VOTERS MATTER CAPACITY
 BUILDING INSTITUTE, and THE
 LOUISIANA STATE CONFERENCE OF
 THE NAACP,                                      Civil Action No. 3:22-cv-00178
                                                 SDD-SDJ
                           Plaintiffs,

 v.

 R. KYLE ARDOIN, in his official capacity
 as Secretary of State of Louisiana,

                           Defendant.


      DECLARATION OF LUIS MANUEL RICO ROMÁN IN SUPPORT OF
              MOTION FOR ADMISSION PRO HAC VICE

       I, Luis Manuel Rico Román, declare the following:

       1.     I have personal knowledge of the matters stated in this declaration and

could competently testify to the same if called upon to do so.

       2.     No disciplinary proceedings or criminal charges have been instituted

against me.

       3.     A Certificate of Good Standing from the State of New York dated June

9, 2023 is attached as Exhibit 2 to the accompanying motion for admission. The

Certificate confirms that I, Luis Manuel Rico Román, was duly admitted to practice

in all the courts of New York on January 19, 2023 and am in good standing as a

member of the bar.



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      4.     Furthermore, I DO SOLEMNLY SWEAR that I will conduct myself as

an attorney and counselor of this Court, uprightly and according to law; and that I

will support the Constitution of the United States.



I declare under penalty of perjury that the foregoing is true and correct.



Date: June 12, 2023                           Respectfully submitted,

                                              /s/ Luis Manuel Rico Román
                                              Luis Manuel Rico Román
                                              American Civil Liberties Union
                                              Foundation
                                              125 Broad Street, 18th Floor
                                              New York, NY 10004
                                              lroman@aclu.org




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